       Case 1:24-cr-00121-CRC          Document 64        Filed 01/22/25     Page 1 of 1


                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,


                         v.
                                                   Case No. 24-cr-121 (CRC)

 STEPHEN MICHAEL BAKER

                                             ORDER

       The Government’s [63] Motion to Dismiss the Indictment against Stephen Michael Baker

under Federal Rule of Criminal Procedure 48(a) in light of the Executive Order of January 20,

2025, Granting Pardons and Commutation of Sentences of Certain Offenses Relating to the Events

at or Near the United States Capitol on January 6, 2021, is hereby GRANTED. All hearings and

deadlines issued by the Court are hereby vacated and this case is dismissed with prejudice. This

Order does not constitute a finding of innocence or expunge Defendant’s conviction following his

plea of guilty on November 12, 2024. See United States v. Wilson, 32 U.S. 150, 160 (1833)

(Marshall, C.J.) (“A pardon is an act of grace, proceeding from the power intrusted with the

execution of the laws, which exempts the individual, on whom it is bestowed, from the punishment

the law inflicts for a crime he has committed.”); In re North, 62 F.3d 1434, 1437 (D.C. Cir. 1994)

(“[A] pardon does not blot out guilt or expunge a judgment of conviction[.]”).

       SO ORDERED.



Date: January 22, 2025
                                                            CHRISTOPHER R. COOPER
                                                            United States District Judge
